898 F.2d 147Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerome TRIPLIN, Plaintiff-Appellant,v.Anthony M. FRANK, Postmaster General (USPS-SR), Defendant-Appellee.
    No. 89-3272.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 17, 1989.Decided:  Feb. 20, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Norwood Carlton Tilley, Jr., District Judge.  (C/A No. 88-1002-GC-C)
      Jerome Triplin, appellant pro se.
      James A. Friedman, United States Postal Service, for appellee.
      M.D.N.C.
      DISMISSED.
      Before K.K. HALL and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Jerome Triplin appeals the district court's order denying his request for appointment of counsel, demand for jury trial, and motions to add additional claims and defendants.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1291.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).   See Miller v. Simmons, 814 F.2d 962 (4th Cir.1987), cert. denied, 56 U.S.L.W. 3267 (U.S. Oct. 13, 1987) (No. 86-7132).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    